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             In the United States Court of Federal Claims
                                                )
 CSI AVIATION, INC.,                            )
                                                )
          Plaintiff,                            )
                                                )               No. 18-253C
 v.                                             )
                                                )               Filed: February 22, 2018
 THE UNITED STATES,                             )
                                                )
          Defendant,                            )
                                                )
 v.                                             )
                                                )
 CLASSIC AIR CHARTER, INC.,                     )
                                                )
          Defendant-Intervenor.                 )
                                                )

                                     PROTECTIVE ORDER

         On February 16, 2018, plaintiff filed a motion for entry of a Protective Order in the
above-captioned post-award bid protest matter that attached a sample Protective Order (docket
entry no. 5). On February 22, 2018, plaintiff filed a notice proposing a modification to the
sample Protective Order that it previously submitted (docket entry no. 14). Plaintiff represents
that the government and the defendant-intervenor consent to the proposed modification.

         The Court finds that certain information likely to be disclosed orally or in writing during
the course of this litigation may be competition-sensitive or otherwise protectable and that entry
of a Protective Order is necessary to safeguard the confidentiality of that information. And so,
the Court GRANTS plaintiff’s motion for entry of a Protective Order and ORDERS the parties
to comply with the terms and conditions of this Protective Order.


                                                      I.


      1. Protected Information Defined. “Protected information” as used in this order means
         information that must be protected to safeguard the competitive process, including source
         selection information, proprietary information, and confidential information contained in:
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       a) any document (e.g., a pleading, motion, brief, notice, or discovery request or
          response) produced, filed, or served by a party to this litigation; or
       b) any deposition, sealed testimony or argument, declaration, or affidavit taken or
          provided during this litigation.

2. Restrictions on the Use of Protected Information. Protected information may be used
   solely for the purposes of this litigation and may not be given, shown, made available,
   discussed, or otherwise conveyed in any form except as provided herein or as otherwise
   required by federal statutory law.

                                                II.

3. Individuals Permitted Access to Protected Information. Except as provided in paragraphs
   7 and 8 below, the only individuals who may be given access to protected information are
   counsel for a party and independent consultants and experts assisting such counsel in
   connection with this litigation.

4. Applying for Access to Protected Information. An individual seeking access to protected
   information pursuant to Appendix C, Section VI of this Court’s rules must read this
   Protective Order; must complete the appropriate application form (Form 9—“Application
   for Access to Information Under Protective Order by Outside or Inside Counsel,” or
   Form 10—“Application for Access to Information Under Protective Order by Expert
   Consultant or Witness”); and must file the executed application with the Court.

5. Objecting to an Application for Admission. Any objection to an application for access
   must be filed with the Court within two (2) business days of the objecting party’s receipt
   of the application.

6. Receiving Access to Protected Information. If no objections have been filed by the close
   of the second business day after the other parties have received the application, the
   applicant will be granted access to protected information without further action by the
   Court. If any party files an objection to an application, access will only be granted by
   Court order.

7. Access to Protected Information by Court, Department Of Justice, and Agency Personnel.
   Personnel of the Court, the procuring agency, and the Department of Justice are
   automatically subject to the terms of this Protective Order and are entitled to access to
   protected information without further action.

8. Access to Protected Information by Support Personnel. Paralegal, clerical, and
   administrative support personnel assisting any counsel who has been admitted under this
   Protective Order may be given access to protected information by such counsel if those
   personnel have first been informed by counsel of the obligations imposed by this
   Protective Order.

                                           III.



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9. Identifying Protected Information. Protected information may be provided only to the
   Court and to individuals admitted under this Protective Order and must be identified as
   follows:
       a) if provided in electronic form, the subject line of the electronic transmission shall
          read “CONTAINS PROTECTED INFORMATION”; or
       b) if provided in paper form, the document must be sealed in a parcel containing the
          legend “PROTECTED INFORMATION ENCLOSED” conspicuously marked
          on the outside.
   The first page of each document containing protected information, including courtesy
   copies for use by the judge, must contain a banner stating “Protected Information to Be
   Disclosed Only in Accordance With the U.S. Court of Federal Claims Protective
   Order” and the portions of any document containing protected information must be
   clearly identified.

10. Filing Protected Information. Pursuant to this order, a document containing protected
    information may be filed electronically under the Court’s electronic case filing system
    using the appropriate activity listed in the “SEALED” documents menu. If filed in paper
    form, a document containing protected information must be sealed in the manner
    prescribed in paragraph 9(b) and must include as an attachment to the front of the parcel a
    copy of the certificate of service identifying the document being filed.

11. Protecting Documents Not Previously Sealed. If a party determines that a previously
    produced or filed document contains protected information, the party may give notice in
    writing to the Court and the other parties that the document is to be treated as protected,
    and thereafter the designated document must be treated in accordance with this Protective
    Order.

                                            IV.

12. Redacting Protected Documents for the Public Record.
       a) Initial Redactions. After filing a document containing protected information in
          accordance with paragraph 10, or after later sealing a document pursuant to
          paragraph 11, a party must promptly serve on the other parties a proposed
          redacted version marked “Proposed Redacted Version” in the upper right-hand
          corner of the first page with the claimed protected information deleted.
       b) Additional Redactions. If a party seeks to include additional redactions, it must
          advise the filing party of its proposed redactions within two (2) business days
          after receipt of the proposed redacted version, or such other time as agreed upon
          by the parties. The filing party must then provide the other parties with a second
          redacted version of the document clearly marked “Agreed-Upon Redacted
          Version” in the upper right-hand corner of the page with the additional
          information deleted.
       c) Final Version. At the expiration of the period noted in (b) above, or after an
          agreement between the parties has been reached regarding additional redactions,


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           the filing party must file with the Court the final redacted version of the document
           clearly marked “Redacted Version” in the upper right-hand corner of the first
           page. This document will be available to the public.
       d) Objecting To Redactions. Any party at any time may object to another party’s
          designation of certain information as protected. If the parties are unable to reach
          an agreement regarding redactions, the objecting party may submit the matter to
          the Court for resolution. Until the Court resolves the matter, the disputed
          information must be treated as protected.

                                            V.

13. Copying Protected Information. No party, other than the United States, may for its own
    use make more than four (4) copies of a protected document received from another party,
    except with the consent of all other parties. A party may make additional copies of such
    documents, however, for filing with the Court, service on the parties, or use in discovery
    and may also incorporate limited amounts of protected information into its own
    documents or pleadings. All copies of such documents must be clearly labeled in the
    manner required by paragraph 9.

14. Waiving Protection of Information. A party may at any time waive the protection of this
    order with respect to any information it has designated as protected by advising the Court
    and the other parties in writing and identifying with specificity the information to which
    this Protective Order will no longer apply.

15. Safeguarding Protected Information. Any individual admitted under this Protective
    Order must take all necessary precautions to prevent disclosure of protected information,
    including but not limited to physically securing, safeguarding, and restricting access to
    the protected information.

16. Breach of the Protective Order. If a party discovers any breach of any provision of this
    Protective Order, the party must promptly report the breach to the other parties and
    immediately take appropriate action to cure the violation and retrieve any protected
    information that may have been disclosed to individuals not admitted under this
    Protective Order. The parties must reasonably cooperate in determining the reasons for
    any such breach.

17. Seeking Relief from the Protective Order. Nothing contained in this order shall preclude
    a party from seeking relief from this Protective Order through the filing of an appropriate
    motion with the Court setting forth the basis for the relief sought.

                                            VI.

18. Maintaining Filed Documents Under Seal. The Court will maintain properly marked
    protected documents under seal throughout this litigation.

19. Retaining Protected Information After the Termination of Litigation. Upon conclusion of
    this action (including any appeals and remands), the original version of the administrative


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   record and any other materials that have been filed with the Court under seal will be
   retained by the Court pursuant to RCFC 77.3(c). Copies of such materials may be
   returned by the Court to the filing parties for disposition in accordance with paragraph 20
   of this Protective Order.

20. Disposing of Protected Information. Within thirty (30) days after the conclusion of this
    action (including any appeals and remands), each party must destroy all protected
    information received pursuant to this litigation and certify in writing to each other party
    that such destruction has occurred or must return the protected information to the parties
    from which the information was received. With respect to protected electronically stored
    information (ESI) stored on counsel’s computer network(s), destruction of such ESI for
    purposes of compliance with this paragraph shall be complete when counsel takes
    reasonable steps to delete all such ESI from the active email system (such as, but not
    limited to, the “Inbox,” “Sent Items,” and “Deleted Items” folders) of admitted counsel
    and of any personnel who received or sent emails with protected information while
    working under the direction and supervision of such counsel, and by deleting any
    protected ESI from databases under counsel’s control. Compliance with this paragraph
    does not require counsel to search for and remove ESI from any computer network back-
    up tapes, disaster recovery systems, or archival systems. Each party may retain one copy
    of such documents, except when the retention of additional copies is required by federal
    law or regulation, provided those documents are properly marked and secured.

   IT IS SO ORDERED.



                                                 s/ Lydia Kay Griggsby
                                                 LYDIA KAY GRIGGSBY
                                                 Judge




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